AO 257 (Rev. 6/78)            Case 3:21-cr-00274-CRB Document 1-2 Filed 07/07/21 Page 1 of 4

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT                 INFORMATION                    INDICTMENT                       Name of District Court, and/or Judge/Magistrate Location
                                                                   SUPERSEDING                        NORTHERN DISTRICT OF CALIFORNIA
           OFFENSE CHARGED
                                                                                                                SAN FRANCISCO DIVISION
 Count 1: 18 U.S.C. sec. 844(i), (n) -- Conspiracy to destroy by          Petty
 fire or explosive a building used in interstate commerce
 Count 2: 26 U.S.C. sec. 5861(d) -- Possession of unregistered            Minor              DEFENDANT - U.S
 destructive devices
                                                                          Misde-
 Counts 3-5: 18 U.S.C. sec. 922(o) -- Unlawful possession of                                                                                      FILED
 machine gun                                                              meanor
                                                                                            Ian Benjamin Rogers                                    Jul 07 2021
                                                                          Felony
                                                                                                DISTRICT COURT NUMBER                             SUSANY. SOONG
                                                                                                                                             CLERK, U.S. DISTRICT COURT
PENALTY:       See attached
                                                                                                3:21-cr-00274 CRB                         NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                                                   SAN FRANCISCO




                                                                                                                          DEFENDANT
                               PROCEEDING                                                         IS NOT IN CUSTODY
                                                                                                    Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                                 1)       If not detained give date any prior
                      Federal Bureau of Investigation
                                                                                                    summons was served on above charges           
       person is awaiting trial in another Federal or State Court,                         2)       Is a Fugitive
       give name of court

                           Napa County Superior Court                                      3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                  IS IN CUSTODY
                                                                                           4)       On this charge
       this is a reprosecution of

                                                                                                                                     }
       charges previously dismissed                                                        5)       On another conviction
       which were dismissed on motion                                SHOW                                                                        Federal             State


                                                          }
       of:                                                         DOCKET NO.
                                                                                           6)       Awaiting trial on other charges
             U.S. ATTORNEY               DEFENSE
                                                                                                     If answer to (6) is "Yes", show name of institution
                                                                                                                     Napa County Superior Court
       this prosecution relates to a

                                                                                                                              }
                                                                                                                    Yes            If "Yes"
       pending case involving this same                                                         Has detainer
                                                                                                                                   give date
       defendant                                                   MAGISTRATE                   been filed?         No             filed


                                                          }
                                                                    CASE NO.
       prior proceedings or appearance(s)                                                       DATE OF
                                                                                                ARREST
                                                                                                                          Month/Day/Year
                                                                                                                             January 15, 2021
       before U.S. Magistrate regarding this
                                                            21-mj-70157 MAG
       defendant were recorded under                                                            Or... if Arresting Agency & Warrant were not

                                                                                                                                         Month/Day/Year
Name and Office of Person
Furnishing Information on this form                       Frank Riebli
                                                                                                DATE TRANSFERRED
                                                                                                TO U.S. CUSTODY
                                                                                                                              
                                  U.S. Attorney            Other U.S. Agency

Name of Assistant U.S.                                                                               This report amends AO 257 previously submitted
Attorney (if assigned)                       Frank Riebli, AUSA
                                                          ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
             SUMMONS                NO PROCESS*                    WARRANT         Bail Amount:
        If Summons, complete following:
             Arraignment    Initial Appearance                                     * Where defendant previously apprehended on complaint, no new summons or
                                                                                   warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                   Date/Time:                                 Before Judge:

        Comments:
           Case 3:21-cr-00274-CRB Document 1-2 Filed 07/07/21 Page 2 of 4



                                      PENALTY SHEET

Count 1:       18 U.S.C. §§ 844(n), (i) – Conspiracy to destroy by fire or explosive a building
               used in interstate commerce

               Minimum 5 years prison
               Maximum 20 years prison
               Maximum 3 years of supervised release following incarceration
               $250,000 fine
               $100 special assessment
               Criminal forfeiture


Count 2:       26 U.S.C. §§ 5861(d), 5845(f) – Possession of unregistered destructive devices

               Maximum 10 years prison
               Maximum 3 years supervised release following incarceration
               Maximum $250,000 fine
               $100 special assessment
               Criminal forfeiture


Counts 3-5:    18 U.S.C. § 922(o) – Possession of a machine gun

               Maximum 10 years prison
               Maximum 3 years supervised release following incarceration
               Maximum $250,000 fine
               $100 special assessment
               Criminal forfeiture
AO 257 (Rev. 6/78)            Case 3:21-cr-00274-CRB Document 1-2 Filed 07/07/21 Page 3 of 4

       DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT
BY:       COMPLAINT                 INFORMATION                    INDICTMENT                       Name of District Court, and/or Judge/Magistrate Location
                                                                   SUPERSEDING                        NORTHERN DISTRICT OF CALIFORNIA
           OFFENSE CHARGED
                                                                                                                SAN FRANCISCO DIVISION
 Count 1: 18 U.S.C. sec. 844(i), (n) -- Conspiracy to destroy by          Petty
 fire or explosive a building used in interstate commerce
 Count 6: 18 U.S.C. sec. 1512(c) -- Obstruction of justice                Minor              DEFENDANT - U.S
                                                                          Misde-
                                                                                                                                                       FILED
                                                                          meanor
                                                                                            Jarrod Copeland                                             Jul 07 2021
                                                                          Felony                                                                       SUSANY. SOONG
                                                                                                DISTRICT COURT NUMBER                             CLERK, U.S. DISTRICT COURT
PENALTY:       See attached
                                                                                                3:21-cr-00274 CRB                              NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                                                        SAN FRANCISCO




                                                                                                                          DEFENDANT
                               PROCEEDING                                                         IS NOT IN CUSTODY
                                                                                                    Has not been arrested, pending outcome this proceeding.
  Name of Complaintant Agency, or Person (& Title, if any)                                 1) X If not detained give date any prior
                      Federal Bureau of Investigation
                                                                                                    summons was served on above charges         
       person is awaiting trial in another Federal or State Court,                         2)       Is a Fugitive
       give name of court
                                                                                           3)       Is on Bail or Release from (show District)

       this person/proceeding is transferred from another district
       per (circle one) FRCrp 20, 21, or 40. Show District
                                                                                                  IS IN CUSTODY
                                                                                           4)       On this charge
       this is a reprosecution of

                                                                                                                                     }
       charges previously dismissed                                                        5)       On another conviction
       which were dismissed on motion                                SHOW                                                                      Federal                 State


                                                          }
       of:                                                         DOCKET NO.
                                                                                           6)       Awaiting trial on other charges
             U.S. ATTORNEY               DEFENSE
                                                                                                     If answer to (6) is "Yes", show name of institution

       this prosecution relates to a

                                                                                                                              }
                                                                                                                    Yes            If "Yes"
       pending case involving this same                                                         Has detainer
                                                                                                                                   give date
       defendant                                                   MAGISTRATE                   been filed?         No             filed


                                                          }
                                                                    CASE NO.
       prior proceedings or appearance(s)                                                       DATE OF
                                                                                                ARREST
                                                                                                                          Month/Day/Year
       before U.S. Magistrate regarding this
       defendant were recorded under                                                            Or... if Arresting Agency & Warrant were not

                                                                                                                                         Month/Day/Year
Name and Office of Person
Furnishing Information on this form                       Frank Riebli
                                                                                                DATE TRANSFERRED
                                                                                                TO U.S. CUSTODY
                                                                                                                              
                                   U.S. Attorney           Other U.S. Agency

Name of Assistant U.S.                                                                               This report amends AO 257 previously submitted
Attorney (if assigned)                       Frank Riebli, AUSA
                                                          ADDITIONAL INFORMATION OR COMMENTS
  PROCESS:
             SUMMONS                NO PROCESS*                    WARRANT         Bail Amount: No bail
        If Summons, complete following:
             Arraignment    Initial Appearance                                     * Where defendant previously apprehended on complaint, no new summons or
                                                                                   warrant needed, since Magistrate has scheduled arraignment
        Defendant Address:

                                                                                   Date/Time:                                 Before Judge:

        Comments:
           Case 3:21-cr-00274-CRB Document 1-2 Filed 07/07/21 Page 4 of 4



                                      PENALTY SHEET

Count 1:       18 U.S.C. §§ 844(n), (i) – Conspiracy to destroy by fire or explosive a building
               used in interstate commerce

               Minimum 5 years prison
               Maximum 20 years prison
               Maximum 3 years of supervised release following incarceration
               $250,000 fine
               $100 special assessment
               Criminal forfeiture


Count 6:       18 U.S.C. § 1512(c) – Obstruction of justice

               Maximum 20 years prison
               Maximum 3 years supervised release following incarceration
               Maximum $10,000 fine
               $100 special assessment
               Criminal forfeiture
